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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )             CASE NO. 8:13CR43
                                           )
                      Plaintiff,           )
                                           )
                vs.                        )             AMENDED ORDER
                                           )
DOLORES MARIA TORRES,                      )
                                           )
                      Defendant.           )


       This matter is before the Court on the Defendant’s Motion for Miscellaneous Relief

[587] requesting costs for transport of the Defendant from her residence in California to the

District of Nebraska for the purpose of attending her Change of Plea Hearing. Defendant

is indigent and is in need of non-custodial transportation from her home in California to

Omaha, Nebraska for the Change of Plea hearing set for March 24, 2015 at 2:00 p.m. The

Court finds said motion should be granted. Accordingly,

       IT IS HEREBY ORDERED:

       1.     The Defendant’s Motion for Miscellaneous Relief [587] is granted.

       2.     The U.S. Marshal’s Office shall arrange ground transportation for Defendant

              from California to arrive in Omaha, Nebraska, no later than 8:00 a.m. on

              March 24, 2015.

       3.     Should the defendant need transportation to return to the state of California,

              a separate motion must be filed.



       Dated this 17th day of March, 2015.


                                           BY THE COURT:


                                           s/ F. A. Gossett
                                           United States Magistrate Judge
